838 F.2d 468Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Roy Frank THOMPSON, Defendant-Appellant.
    No. 87-7121.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 30, 1987.Decided Jan. 26, 1988.
    
      Roy Frank Thompson, appellant pro se.
      William Anthony Kolibash, United States Attorney, for appellee.
      Before DONALD RUSSELL, WIDENER, and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 28 U.S.C. Sec. 2255 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  United States v. Thompson, CR No. 85-41-E(K);  C/A No. 86-197-E(K) (N.D.W.Va. March 5, 1987).
    
    
      2
      AFFIRMED.
    
    